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 7                        UNITED STATES DISTRICT COURT
 8                                DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11         Plaintiff,                           Case No. 2:11-cr-00434-LDG (PAL)

12   v.                                         ORDER

13   DELYANA NEDYALKOVA,

14         Defendant.

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16         THE COURT ORDERS that Defendant Delyana Nedyalkova’s Motion to Permit

17   Defendant’s Surrender to the United States Marshal (#590) is DENIED as m oot.

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19   DATED this ______ day of May, 2014.
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21                                                          Lloyd D. George
                                                            United States District Judge
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